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 VIA ECF                                                                  May 3, 2023

 Hon. Victor Marrero
 United States Courthouse
 500 Pearl St.
 New York, NY 10007-1312

 Re: Baliga, et al. v. Link Motion Inc., et al., Case No. 1:18-cv-11642-VM-VF (S.D.N.Y.)

 Dear Judge Marrero:

          I represent Dr. Vincent Wenyong Shi (“Dr. Shi”). I write to request that the Court issue an
 Order as follows: (i) directing the Receiver to cease and desist from selling, transferring, or
 otherwise disposing the internet domain names and other assets belonging to LKM, (ii) directing
 the Receiver to preserve all tangible and intangible assets of LKM pending the outcome of the
 accounting, and (iii) modifying the Receiver Order to transfer control of Link Motion Inc.
 (“LKM”) to the Board of Directors. The basis for this request is newly discovered information
 showing that valuable internet domain names belonging to LKM are being openly marketed for
 sale to the general public.

         Specifically, the domain name www.nq.com is now for sale. See www.nq.com (“NQ.com
 - Now for Sale for a Limited Time”) and Ex. A hereto. LKM had originally purchased use rights
 to www.nq.com in 2011 for $1.6 million. See Ex. B 1 hereto. Internet records show that
 www.nq.com continues to be controlled by NetQin Mobile, Inc (see Dkt. No. 406-2), which is one
 of the LKM operating companies in China that has been under Mr. Guo’s control since 2019. See
 Dkt. No. 394 ¶¶ 21-25 and 55-60. The domain names linkmotion.com, lkmotion.com, and
 netqin.com also appear to be for sale. See www.linkmotion.com (“The domain linkmotion.com is
 for sale!”) and Ex. C hereto.

         These domain names are valuable intellectual property that have belonged to LKM since
 well before the appointment of the Receiver. The Receiver was previously ordered to maintain the
 status quo pending the resolution of his accounting. Dkt. No. 26 § II(2) (the “Receiver Order”),
 Dkt. No. 275 at 42, Dkt. No. 331. These prior Orders also apply to Mr. Guo, who is the agent for
 the Receiver and currently controls NetQin Mobile, Inc. Thus the Receiver is responsible for the
 failure to maintain the valuable domain names of LKM. That LKM’s domain names are now
 openly marketed for sale demonstrates that the Receiver and his agent, Mr. Guo, are ignoring the
 Court’s orders and neglecting to maintain the value of LKM’s intellectual property. The loss of

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  Exhibit B is an excerpt of LKM’s 2011 Form 20-F Annual Report available at
 https://www.sec.gov/Archives/edgar/data/1509986/000119312512143756/d323503d20f.htm (see p.68 under
 “Investing Activities”).




                                                                             *Admitted to practice law in New York
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this intellectual property will cause irreparable harm to LKM. Accordingly, Dr. Shi requests that
the Court Order the Receiver to cease all efforts to sell the domain names and to otherwise comply
with the Court’s prior orders to maintain and preserve all tangible and intangible property of LKM.

        Dr. Shi also renews his request that the Court modify the Receiver Order to return control
of LKM to the Board of Directors. Dr. Shi made a similar request on March 15, 2023. Dkt. No. 399.
The Court declined to act on the request because the parties were unable to agree on the terms of
a stipulated proposed order for modifying the Receiver Order. See Dkt. Nos. 401, 402, 403. Dr.
Shi now makes a second request to modify the Receiver Order to transfer control of LKM to the
Board of Directors based on new information, described above, showing that the Receiver and his
agents are ignoring the Court’s order to preserve LKM’s assets and openly selling its valuable
domain names. The Court has discretion to modify the Receiver Order pursuant to 28 U.S.C. §
3103(e) at any time.

        Accordingly, Dr. Shi respectfully requests that the Court enter an Order as follows:

       (i) directing the Receiver to cease and desist from selling, transferring, or otherwise
disposing the internet domain names belonging to LKM,

        (ii) directing the Receiver to preserve all tangible and intangible assets of LKM pending
the outcome of the accounting, and

        (iii) modifying the Receiver Order as requested by Dr. Shi at Dkt. No. 401-2.

                                                     Respectfully submitted,
                                                     /s/ Michael James Maloney
                                                     Michael James Maloney


cc:     All counsel of record (via ECF)
